Case 2:05-cV-02413-.]DB-STA Document 27 Filed 08/02/05 Page 1 of 4 Page|D 24

lN THE UNITED si"ATEs DLSTRICT CouRT F"~ED 3`1’ dfw D.C.
FoR THE WESTERN DISTRICT or TENNESSEE
AT MEMPHIS 05 AUG -»2 PH hr 55

 

\/ [(_"Kl E l\/l l L L-ER,

 

Plaintil`t`,
vs. No. 05-2413 B/A

NIPPON CARBON COl\/IPANY, LTD.,
MITSUBISHI LOGISTICS CORPORAT]ON,
MITSUBISHI LOGISTICS AMERICA
C`ORPOR_ATION and YANG MING
l\/lARll\l`E TRANSPORT CORPORATION,

Del`endants.

 

ORDER GRANTING PLAINTIFF’S l\/IOTION TO ENLARGE
THE TIME WITHIN WHICH TO RESPOND TO DEFENDANTS’
MOTIONS TO DISMISS

 

THlS CAUSE caine on to be heard upon the Written motion ot`Plaintil"f to enlarge the
time Within which she may respond to Motions to Disrniss filed by Defendants Nippon Carbon
(`oinpany, Ltd. and l\/litsubislii Logistics Coiporation, from on or before August 2, 2005, until on
or before August 22, 2005.

lt appearing lo the Court that good cause exists t`or Plaintifi"s Motion and that
Del`endants’ counsel does not oppose Plaintiff’s l\/lotion,

IT IS, TH EREFORE, ORDERED that Plaintift`be, and is hereby, granted the time within
which she may respond to Det`cndants’ Motions to Dismiss from on or before August 2, 2005,

until on or hcl`ore August 22, 20()5.

.~ 156
, = -"o\t\\-'"°`
. .~ "tid-l‘~‘n"
...\'\nd L il nw dourwigb/ 3105
:»J\ Puri/
"C.)\.¢U\\lu ,Fela| F(‘ll\)
fruit f \

Case 2:05-cV-02413-.]DB-STA Document 27 Filed 08/02/05 Page 2 of 4 Page|D 25

A]l other matters are reserved

isbell

@DISTRICT COURT IUDGE

DATE: <(( 11 D`/

 

August 3, 2005 to the parties listed.

Notice of Distribution

This notice confirms a copy of the document docketed as number 27 in
case 2:05-CV-024l3 Was distributed by faX, mail, or direct printing on

ESSEE

 

J ames D. Wilson

HARRIS SHELTON DUNLAP COBB & RYDER
One Commerce Square

Ste. 2700

l\/lemphis7 TN 38 l 03

J ames F. Horner

GLASSMAN EDWARDS WADE & WYATT, P.C.
26 N. Second Street

l\/lemphis7 TN 38 l 03

Shannon E. Holbrook

HARRIS SHELTON DUNLAP COBB & RYDER
One Commerce Square

Ste. 2700

l\/lemphis7 TN 38 l 03

Dennis R. Baer

BAER BAER & BAER
100 N. l\/lain Street

Ste. 25 10

l\/lemphis7 TN 38l03

Taylor Cates

BURCH PORTER & JOHNSON
l30 N. Court Avenue

l\/lemphis7 TN 38 l 03

Thomas F. Barnett

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ
165 Madison Ave.

Ste. 2000

l\/lemphis7 TN 38 l 03

Carl Wyatt

GLASSMAN EDWARDS WADE & WYATT, P.C.
26 N. Second Street

l\/lemphis7 TN 38 l 03

Case 2:05-cV-O2413-.]DB-STA Document 27 Filed 08/02/05 Page 4 of 4

Jimmy Moore

CIRCUIT COURT, 30TH .TUDICIAL DISTRICT
140 Adams Ave.

Rm. 224

1\/1emphis7 TN 38103

J. Mark Griffee

GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/1emphis7 TN 38103

Kenneth 1. Schacter
Bingham McCutchen, LLP.
399 Park Avenue

NeW York7 NY 10022--468

J ames R. NeWsom

HARRIS SHELTON HANOVER V\MLSH7 PLLC.
One Commerce Square

Ste. 2700

1\/1emphis7 TN 38103--255

Jill 1\/1. Steinberg

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ
165 Madison Ave.

Ste. 2000

1\/1emphis7 TN 38103

Joel H. Porter

BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/1emphis7 TN 38103--221

Michael E. Keeney

THOMASON HENDRIX HARVEY JOHNSON & MITCHELL
40 S. Main St.

Ste. 2900

1\/1emphis7 TN 38103--552

Honorable J. Breen
US DISTRICT COURT

Page|D 27

